     Case
Name &      8:19-cr-00061-JVS Document 680 Filed 08/11/21 Page 1 of 1 Page ID #:13803
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                 CASE NUMBER:

                                                                            SA-CR-19-61-JVS
                                           PLAINTIFF(S)
                            v.
 Michael J. Avenatti                                               NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually     Filed ✔ Lodged : (List Documents)
 Exhibit B (Flash Drive) to Notice of Motion and Motion to Strike the Testimony of Alexis Gardner due to
 Violations of Rule 615 [Dkt. 679].




Reason:
      Under Seal
      In Camera
✔     Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
      Per Court order dated:
      Other:




 August 11, 2021                                            H. Dean Steward, Advisory Counsel
Date                                                       Attorney Name
                                                            Michael J. Avenatti
                                                           Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
